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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

ZELIA BROWN AND OTHER     §
SIMILARLY SITUATED        §
INDIVIDUALS,              §
                          §
             Plaintiffs,  §
                          §
v.                        § CIVIL ACTION NO. 4:20-cv-02186
                          §
HOUSTON COMMUNITY COLLEGE §
SYSTEM,                   §
                          §
             Defendant.   §

                    PLAINTIFF’S REPORT ON DISCOVERY

      Plaintiff Zelia Brown submits this report on discovery pursuant to the court’s

Discovery Order entered June 3, 2022.

A.    Report on Discovery.

      Pursuant to the court’s Discovery Order entered June 3, 2022 (Dkt. 148), the

following depositions were completed as follows:

      • HCC took Pandora Jubilee’s deposition on June 24, 2022.

      • HCC took Dr. Terry Kidd’s deposition on June 27, 2022.

      • HCC took Plaintiff Zelia Brown’s deposition on June 30, 2022.

      • Plaintiff took Miguel San Juan’s deposition on July 26, 2022.

      • Plaintiff took Thomas Anderson’s deposition on July 27, 2022.

      • Plaintiff took Tara Bond’s deposition on July 28, 2022.

      • Plaintiff took Dr. Maya Durnovo’s deposition on August 8, 2022.

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       • Plaintiff took Dr. David Cross’ deposition on August 8, 2022.

B.     Plaintiff’s Position on Additional Discovery.

       Plaintiff maintains that additional depositions and discovery are required in this

matter and respectfully requests a status conference with the Court to discuss the legal

framework upon which this case is to proceed. Plaintiff requests additional discovery

including, but not limited to, the depositions of Chancellor Cesar Maldonado; an HCC

Corporate Representative(s); and Qumar Zuberi in the grants accounting department. As

alleged in Plaintiff’s complaint, Chancellor Maldonado was one of the ultimate policy

makers at the College and would have direct knowledge of (1) whether Defendants created

a deliberate general policy for targeting, demoting and discharging Black employees; (2)

whether Defendants engaged in a general policy, pattern and practice of replacing Black

employees with less qualified Hispanic or White employees; (3) whether these actions were

the result of a de facto policy of racial discrimination; and (4) whether Defendants are liable

for damages for discriminatory conduct based on race in violation of Section 1981. The

Plaintiff also requests the deposition of an HCC Corporate Representative(s) to provide

testimony on: 1) policies and practices relating to grant awards, compliance and non-

compliance issues; 2) the contents of any and all investigations, grievances, criticism,

reprimands and/or disciplinary actions taken against Zelia Brown; 3) decision-making

process and reasons for placing Zelia Brown on leave of absence and the person(s) who

made those decisions; 4) what actions have been implemented or taken against any other

employees relating to the complaints raised by Zelia Brown and/or changes to grant

compliance because of or since the criticisms raised by Plaintiff; 5) the identity of all HCC

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administrators who would have had to approve the non-complying handling of grants at

HCC while Zelia Brown was employed; and 6) the reasons why disciplinary actions were

taken against Zelia Brown. Additionally, the deposition of Maya Durnovo revealed that

Mr. Zuberi may possess additional information regarding HCC’s misuse of federal grant

funds as alleged by Plaintiff.

       Plaintiff respectfully requests a status conference with the Court to discuss the

additional depositions and discovery required in this matter.



                                          Respectfully submitted,

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